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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                 EASTERN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
v                                                )      3:05-CR-234-A
                                                 )      [WO]
                                                 )
TYRONE WHITE                                     )


                                  ORDER ON MOTION


        After consideration of the Defendant’s unopposed Request for an Extension as to the

Deadlines (Doc. 36, filed Nov. 10, 2005), it is ORDERED that the Motion is GRANTED

to the extent that Defendant is excused from the November 10, 2005 deadline for motions.

It is further

        ORDERED that the pretrial conference now scheduled herein for November 16,

2005, at 11:00 a.m. is hereby continued to Monday, November 21, 2005, at 3:00 p.m., and

Defendant shall file all pretrial motions by noon on November 21, 2005.

        Done this 10 th day of November, 2005.


                                   /s/ Delores R. Boyd
                                   DELORES R. BOYD
                                   UNITED STATES MAGISTRATE JUDGE
